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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

SIXTA GLADYS PEÑA MARTINEZ et al.,         )
                                           )
                 Plaintiffs,               )
                                           )
v.                                         )   Case No. 3:18-cv-01206-WGY
                                           )
ALEX M. AZAR II, Secretary, United States  )
Department of Health and Human Services,   )
in his official capacity et al.,           )
                                           )
                 Defendants.               )
 _________________________________________ )


       DEFENDANTS’ MEMORANDUM OF LAW REGARDING REMEDIES
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                                        INTRODUCTION

       For the reasons stated in Defendants’ merits briefs and during oral argument, Plaintiffs

have failed to demonstrate that the social welfare benefits programs they challenge here are

inconsistent with principles of equal protection. Defendants therefore respectfully request that

the Court enter summary judgment in their favor, and deny Plaintiffs’ motion for summary

judgment. Nonetheless, even if the Court were to disagree with Defendants’ merits position, the

sole appropriate remedy would be relief limited to the nine individual plaintiffs in this action.

Any remedy extending beyond this scope would be inconsistent with Article III standing

requirements and fundamental principles of equity. It would also be contrary to First Circuit

precedent limiting classwide relief to cases in which a cognizable class has been certified, and

with principles of constitutional avoidance. Alternatively, in the event that the Court were to

grant a more burdensome form of relief, then Defendants would respectfully request that the

Court issue a 60-day administrative stay of proceedings to permit the government to decide

whether to appeal the Court’s decision and, if so, whether to seek a full stay pending appeal.

                                          ARGUMENT

I.     Any Remedy Should Be Limited to the Nine Plaintiffs Who Have Demonstrated a
       Certainly Impending Future Injury.

       A.      Plaintiffs Lack Standing to Seek Relief Plaintiffs for Non-Parties, and
               Awarding Broader Relief Would Be Inconsistent With Fundamental
               Principles of Equity.

       Were the Court to order declaratory or injunctive relief here, any such remedy should be

limited to the nine individual plaintiffs who have demonstrated an impending future injury in

order to have standing for prospective relief. See generally Clapper v. Amnesty Int’l USA, 568

U.S. 398 (2013). The Supreme Court has repeatedly held that “standing is not dispensed in



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gross” and that “a plaintiff must demonstrate standing for each claim he seeks to press and for

each form of relief that is sought.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650

(2017) (quoting Davis v. Fed. Election Comm’n, 554 U.S. 724, 734 (2008) (emphasis added));

see also Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018) (“A plaintiff’s remedy must be tailored to

redress the plaintiff’s particular injury.”). Furthermore, a plaintiff does not retain standing to

challenge a law in the abstract when its application to that plaintiff has been resolved. See

Summers v. Earth Island Inst., 555 U.S. 488, 494-97 (2009). Accordingly, this Court’s

jurisdiction to provide a remedy is limited to redressing the actual impending future injuries of

the nine individual plaintiffs in this action.

        To the extent that Plaintiffs might seek broader relief, such a request would be

inconsistent with Article III’s judicial power, which “exists only to redress or otherwise protect

against injury to the complaining party, even though [in some instances] the court’s judgment

may benefit others collaterally.” Warth v. Seldin, 422 U.S. 490, 499 (1975) (emphasis added).

The Supreme Court recently reaffirmed this important limitation on the scope of judicial

authority in Gill, concluding that a set of voters had not demonstrated standing to challenge

alleged statewide partisan gerrymandering of Wisconsin legislative districts. Gill, 138 S. Ct.

1916. The plaintiffs alleged that voters who shared their political views were disadvantaged by

the way that district lines were drawn statewide, and that they were therefore entitled to

challenge the entire state map. Id. at 1924-25. But, admonishing that “[t]he Court’s

constitutionally prescribed role is to vindicate the individual rights of the people appearing

before it,” id. at 1933, Gill concluded that a plaintiff’s remedy “must of course be limited to the

inadequacy that produced the injury in fact that the plaintiff has established,” id. at 1931 (quoting

Lewis v. Casey, 518 U.S. 343, 357 (1996)). Accordingly, the Court held that “the remedy that is

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proper and sufficient lies in the revision of the boundaries of the individual’s own district,” not

the broader remedy of “restructuring all of the State’s legislative districts.” Id. at 1930-31. So

too here, the only remedy that is proper under Article III is one that is narrowly limited to

Plaintiffs’ “particular injur[ies].” Id. at 1934; see also Monsanto v. Geertson Seed Farms, 561

U.S. 139, 165-66 (2010) (invalidating broader injunction where less burdensome remedy was

available to redress parties’ harm).

       Defendants are mindful that in its decision denying their dismissal motion, the Court

determined that these nine plaintiffs had sufficiently alleged standing to sue. See Peña Martinez

v. Azar, 376 F. Supp. 3d 191, 202-04 (D.P.R. 2019). However, such a determination does not

establish that every Puerto Rico resident conceivably eligible for the challenged programs

thereby possesses standing to sue. Similarly, the Court’s determination that, under the particular

circumstances presented in this case, it was unnecessary to address whether these specific

plaintiffs had satisfied the mandatory presentment requirement of 42 U.S.C. § 405(g), does not

entail a finding that this requirement has been satisfied for every Puerto Rico resident who might

otherwise be eligible for the Supplemental Security Income (“SSI”) or Medicare Part D Low

Income Subsidy (“LIS”) programs. See id. at 200-02. Instead, determining whether any

particular Puerto Rico residents possesses standing to sue or has satisfied the statutory

presentment requirement would require consideration of his or her individualized facts and

circumstances.

       In addition to standing doctrine, equitable principles also require that any injunctive relief

be limited to redressing a plaintiff’s own injuries stemming from a violation of his or her own

rights. Paralleling the rule under Article III, the rule in equity is that “an injunction must be ‘no

more burdensome to the defendant than necessary to provide complete relief to the plaintiffs.’”

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Sindi v. El-Moslimany, 896 F.3d 1, 31 (1st Cir. 2018) (emphasis added) (quoting Califano v.

Yamasaki, 442 U.S. 682, 702 (1979)); see also, e.g., Trump v. Hawaii, 138 S. Ct. 2392, 2427-28

(2018) (Thomas, J., concurring) (noting that the tradition of equity inherited from English law

was premised on “providing equitable relief only to parties” because the fundamental role of a

court was to “adjudicate the rights of ‘individual[s]’”) (quoting The Federalist No. 78, at 466

(Alexander Hamilton) (Clinton Rossiter ed., 1961)); see generally Dep’t of Homeland Sec. v.

New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring in the grant of stay) (detailing the

costs of injunctions that “direct how the defendant must act toward persons who are not parties to

the case”). “[C]ourts must [therefore] closely tailor injunctions to the harm that they address.”

NACM-New England, Inc. v. Nat’l Ass’n of Credit Mgmt., Inc., 927 F.3d 1, 7 (1st Cir. 2019)

(quoting Tamko Roofing Prods., Inc. v. Ideal Roofing Co., 282 F.3d 23, 40 (1st Cir. 2002)).

       Even if the Court were to disagree with the merits arguments presented by Defendants,

Plaintiffs have made no showing—including in their supplemental remedies brief—that relief

extending beyond the nine named plaintiffs would be necessary to place them in their allegedly

rightful positions. Consequently, awarding relief beyond this scope would run afoul of basic

equitable principles because it would be much more burdensome to Defendants than necessary.

A 2010 study conducted by the U.S. Department of Agriculture concluded that implementing the

Supplemental Nutrition Assistance Program (“SNAP”) in Puerto Rico would “lead to higher

administrative burden,” requiring a number of significant, fundamental changes to agency

“program structure and operational processes.” Food & Nutrition Service, U.S. Department of

Agriculture, Implementing Supplemental Nutrition Assistance Program in Puerto Rico: A

Feasibility Study iii (June 2010) (attached as Ex. 1). Implementing SSI and LIS in Puerto Rico

would necessitate similar burdensome changes to agency operations. Thus, requiring three

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federal agencies to take such actions would be inconsistent with fundamental principles of equity

because such a requirement would be completely unnecessary to provide the plaintiffs in this

action with complete relief.

        B.      Because No Class Has Been Certified, Relief Beyond the Named Plaintiffs
                Would Be Inconsistent With First Circuit Precedent and Relief Awarded in
                Similar Cases.

        The First Circuit has also made clear that granting classwide relief—which is what a

broad injunction here would effectuate—is improper in a case where (as here) no class has been

certified. See Brown v. Trustees of Boston Univ., 891 F.2d 337, 361 (1st Cir. 1989) (“Ordinarily,

classwide relief, . . . , is appropriate only where there is a properly certified class.”) (citation

omitted); see id. (vacating injunction enjoining university from engaging in sex discrimination to

the extent its scope extended beyond the named plaintiff). “[T]here is no . . . reason here for an

injunction running to the benefit of nonparties,” id., because the nine individual plaintiffs have

not demonstrated that anything other than permanent relief directed to them would be necessary

to remedy their alleged injuries. This First Circuit doctrine is consistent with precedent from

other Circuits. See, e.g., Los Angeles Haven Hospice v. Sebelius, 638 F.3d 644, 664 (9th Cir.

2011) (limitation on relief to only the named plaintiff has “special force” where “there is no class

certification”); Jean-Baptiste v. Dist. of Columbia, 958 F. Supp. 2d 37, 50 (D.D.C. 2013) (“[I]f

granted, injunctions should be narrowly tailored and should generally apply only to the plaintiff

where a class has not been certified.”) (citing, inter alia, Brown, 891 F.2d at 361); Meyer v.

CUNA Mut. Ins. Soc., 648 F.3d 154, 171 (3d Cir. 2011) (vacating injunctive relief extending

beyond named plaintiff following decertification of class, and noting that “[o]ther circuits have

also found injunctions to be overbroad where their relief amounted to class-wide relief and no

class was certified”) (citing authority).

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        Indeed, the merits briefs submitted by Plaintiffs themselves do not support the conclusion

that any relief beyond the named plaintiffs is necessary to redress their alleged harms. Both of

Plaintiffs’ merits briefs concluded by asserting that the relief sought was limited to the named

plaintiffs. See Pls.’ Mot. for Summ. J. at 25, ECF No. 72 (requesting that the Court, under the

heading “Conclusion & Relief Sought,” “enter a declaratory judgment that it is unconstitutional

to exclude Plaintiffs from the SSI, SNAP, and LIS programs based on their residence in Puerto

Rico, and enjoin Defendants from excluding Plaintiffs from the SSI, SNAP, and LIS programs

based on their residence in Puerto Rico”) (emphasis added); Pls.’ Reply in Supp. of Mot. for

Summ. J. at 22, ECF No. 83 (requesting the same relief under the same heading). Nor does

Plaintiffs’ supplemental remedies brief demonstrate that relief tailored to the named plaintiffs is

insufficient to fully protect their interests.

        Such a limitation would also be consistent with the final relief awarded in similar cases in

which residents of U.S. Territories have challenged their exclusion from social welfare benefits

eligibility as inconsistent with equal protection principles. In Schaller v. Social Security

Administration, No. 18-00044 (D. Guam. June 19, 2020) (attached as Ex. 2), the District of

Guam determined that the exclusion of Guam residents from eligibility to receive SSI benefits

was not consistent with principles of equal protection. See id., slip op. at 20. Nevertheless, the

Court limited the relief awarded in that case to “enjoin[ing] Defendants from enforcing against

the Plaintiff such discriminatory provisions of the SSI statute and any relevant implementing

regulations.” Id. (emphasis added). The District of Guam reached this determination after

considering supplemental briefing from the parties that specifically raised the scope-of-remedy

issue. See Order re: Supplemental Briefing at 2, Schaller v. Soc. Sec. Admin., No. 18-00044 (D.




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Guam Apr. 28, 2020) (directing the parties to address, inter alia, “whether any relief the court

may grant can be limited strictly to the Plaintiff in this case”). 1

        C.      It Is Unnecessary for the Court to Address Plaintiffs’ Facial Validity Claims,
                But in Any Event, Such Claims Do Not Mandate Relief Beyond the Named
                Plaintiffs.

        Furthermore, if the Court were to conclude that the challenged programs are inconsistent

with equal protection principles as applied to these plaintiffs, there is no need for the Court to

reach the additional issue of facial validity. Both the Supreme Court and the First Circuit have

“explained that[] facial challenges are disfavored for several reasons,” including that they “run

contrary to the fundamental principle of judicial restraint that courts should neither anticipate a

question of constitutional law in advance of the necessity of deciding it nor formulate a rule of

constitutional law broader than is required by the precise facts to which it is to be applied.”

Hightower v. City of Boston, 693 F.3d 61, 76, 77 (1st Cir. 2012) (quoting Wash. State Grange v.

Wash. State Republican Party, 552 U.S. 442, 450 (2008); Ashwander v. TVA, 297 U.S. 288, 347

(1936) (Brandeis, J., concurring)) (internal punctuation omitted). This principle of constitutional

avoidance makes it unnecessary for the Court to ascertain the facial validity of the challenged

programs, as such a determination would be broader than required by the facts of this case. See,

e.g., Citizens United v. Gessler, 773 F.3d 200, 209 (10th Cir. 2014) (“We need not address




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  Similarly, neither the district court nor the court of appeals in United States v. Vaello-Madero
afforded relief beyond the individual beneficiary at issue in that case. See United States v. Vaello
Madero, 356 F. Supp. 3d 208, 211, 216 (D.P.R. 2019) (entering summary judgment on Vaello
Madero’s “conten[tion that] he is not required to return the payments he received in
[Supplemental] Security Income (‘SSI’) disability benefits upon changing his domicile to Puerto
Rico since excluding a United States citizen residing in the territory from receiving the same
runs afoul of the equal protection guarantees of the Due Process Clause”); United States v.
Vaello-Madero, 956 F.3d 12, 32 (1st Cir. 2020) (affirming summary judgment decision).
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Citizen United’s facial challenge . . . because a ruling of facial invalidity would not grant

Citizens United any additional relief.”).

       In any event, the relevant inquiry involves not the nature of Plaintiffs’ challenge, but,

rather, whether a broader injunction is necessary to provide complete relief to the named

plaintiffs. Because the named plaintiffs cannot contend that declaratory or injunctive relief

benefiting nonparties is necessary to provide them with complete relief, any remedy awarded in

this case should apply only to them. The Supreme Court has made clear that “although the

occasional case requires us to entertain a facial challenge,” nevertheless, courts neither “want nor

need to provide relief to nonparties when a narrower remedy will fully protect the litigants.”

United States v. Nat’l Treasury Employees Union, 513 U.S. 454, 477-78 (1995) (citations

omitted).

       In National Treasury Employees Union, two unions and several employees challenged

the constitutionality of a statute banning federal employees from receiving certain payments. Id.

at 461. After finding the statute unconstitutional, “[t]he relief granted by the District Court and

upheld by the Court of Appeals enjoined enforcement of the entire . . . ban as applied to the

entire Executive Branch of the Government.” Id. at 477 (footnote omitted). Though the

Supreme Court agreed that the statute “violate[d] the First Amendment,” it reversed on the issue

of remedy, holding that “relief should be limited to the parties before the Court.” Id. Among

other reasons, the Court explained that the “policy of avoiding unnecessary adjudication of

constitutional issues . . . counsel[ed] against” a broader determination. Id. at 478 (citing

Ashwander, 297 U.S. at 346-47) (Brandeis, J., concurring)). Here, too, “granting full relief to

[the named plaintiffs] . . . does not require passing on the applicability of” the challenged

programs on their face. Id. Similarly, Meinhold v. U.S. Department of Defense, 34 F.3d 1469

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(9th Cir. 1994), concluded that a federal regulation banning gays and lesbians from military

service violated equal protection principles, but vacated the issuance of a nationwide injunction,

ordering relief to be limited to the named plaintiff. Id. at 1480. Despite the finding of facial

invalidity, the court explained that “[t]his is not a class action,” and that under traditional

principles of equity, “[e]ffective relief [could] be obtained by directing the Navy not to apply its

regulation to” the named plaintiff. Id. (citing Califano, 442 U.S. at 702, for the proposition that

“[a]n injunction should be no more burdensome to the defendant than necessary to provide

complete relief to the plaintiffs”).

        Thus, a finding of facial unconstitutionality does not mandate relief beyond a named

plaintiff, particularly in light of fundamental equitable principles. See also, e.g., Los Angeles

Haven Hospice, 638 F.3d at 655 (despite the fact that federal regulation was facially invalid,

district court abused its discretion in issuing relief beyond named plaintiff because, inter alia,

such relief “would significantly disrupt the administration of the Medicare program”); Belitskus

v. Pizzingrilli, 343 F.3d 632, 649-50 (3d Cir. 2003) (invalidating global injunction in equal

protection challenge to filing fees for political candidates because “district courts granting

injunctions” in such cases “‘should craft remedies no broader than necessary to provide full relief

to the aggrieved plaintiff’”); Virginia Soc’y for Human Life, Inc. v. Fed. Election Comm’n, 263

F.3d 379, 392-94 (4th Cir. 2001) (holding that district court’s injunction prohibiting federal

agency from enforcing regulation on nationwide basis was overbroad, despite the fact that the

regulation was facially unconstitutional, and remanding with instructions to limit the injunction

to the named plaintiff), overruled on other grounds, 681 F.3d 544 (4th Cir. 2012); Ameron, Inc.

v. U.S. Army Corps of Eng’rs, 787 F.2d 875, 888-90 (3d Cir. 1986) (in rejecting federal

government’s determination not to enforce statutory provisions it deemed unconstitutional,

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district court erred by issuing overbroad remedy in enjoining government from refusing to

comply with provisions with respect to all parties similarly situated to plaintiffs and intervenors

on a district-wide basis); Russell-Murray Hospice, Inc. v. Sebelius, 724 F. Supp. 2d 43, 60

(D.D.C. 2010) (declining to issue injunctive relief extending beyond named plaintiff, despite

finding federal regulation facially invalid); Hospice of New Mexico, LLC v. Sebelius, 691 F.

Supp. 2d 1275, 1294 (D.N.M. 2010) (same), aff’d, 435 F. App’x 749 (10th Cir. 2011).

       Under the principle of constitutional avoidance, the Court need not (and should not)

address the facial validity of the challenged programs. In any event, however, because a remedy

limited to the nine plaintiffs will fully protect their interests and broader relief would be unduly

burdensome, even a finding of facial invalidity would not require any broader remedy.

       D.      Analogous Administrative Procedure Act Claims Remain Subject to
               Traditional Considerations Governing Equitable Relief.

       Finally, to the extent that Plaintiffs might analogize this case to challenges to agency

action brought under the Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”), nothing

in that statute expands the Court’s jurisdiction beyond its traditional constitutional and equitable

limitations. Rather, the APA preserves all ordinary principles of equity. See 5 U.S.C. § 702(1)

(“Nothing herein affects … the power or duty of the court to … deny relief on any other

appropriate legal or equitable ground[.]”). Although Section 706(2) of the APA authorizes

unlawful “agency action” to be “set aside,” it does not provide that such action be set aside

facially, as opposed to solely with respect to those applications that actually injure a plaintiff.

Accordingly, Section 706(2) is not properly construed to displace the general rule that equitable

remedies may go no further than necessary to redress plaintiff’s own injury. See Weinberger v.

Romero-Barcelo, 456 U.S. 305, 313 (1982) (“[W]e do not lightly assume that Congress has

intended to depart from established [equitable] principles.”). And in this case, the sole relevant
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action of the three federal defendant-agencies is discrete benefits program eligibility

determinations for nine individual plaintiffs. Consequently, even if the Court were to disagree

with Defendants’ merits position, that is the only “agency action” that would be appropriately

“set aside.” See, e.g., Los Angeles Haven Hospice, 638 F.3d at 665 (vacating district court’s

grant of nationwide injunction in APA case as “too broad” where narrower order “would have

afforded the plaintiff complete relief”).

       In sum, even if the Court were to disagree with Defendants’ position on the merits,

Plaintiffs have not demonstrated that relief beyond the nine named plaintiffs would be necessary

to place them in their allegedly rightful positions. Awarding any such relief would be

inconsistent with Article III standing doctrine, fundamental equitable principles, First Circuit

precedent regarding class actions, and principles of constitutional avoidance.

II.    In the Alternative, Defendants Request an Administrative Stay of Proceedings.

       In the event that the Court were to grant permanent relief beyond the nine individual

plaintiffs, then pursuant to the Court’s inherent authority to manage its docket, Defendants would

respectfully request the Court to issue a 60-day administrative stay of such relief, in order to

allow adequate time for the government to determine whether to appeal the Court’s decision and,

if so, whether to seek a stay pending appeal. “A district court enjoys inherent power to ‘control

the disposition of the causes on its docket with economy of time and effort for itself, for counsel,

and for litigants.’” City of Bangor v. Citizens Commc’ns Co., 532 F.3d 70, 99 (1st Cir. 2008)

(quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); Taunton Gardens Co. v. Hills, 557

F.2d 877, 879 (1st Cir. 1977)). This inherent power encompasses “broad discretion to stay

proceedings.” Clinton v. Jones, 520 U.S. 681, 706-07 (1997).




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       The determination whether to appeal a district court decision is entrusted by regulation to

the Solicitor General of the United States. See 28 C.F.R. § 0.20(b). The requested 60-day stay

would merely preserve the status quo, and would represent a modest amount of time for the

Solicitor General to determine whether to appeal, after consultation with the affected

governmental components. See also 28 U.S.C. § 2107(b) (allowing 60 days for filing a notice of

appeal when the federal government is a party). No undue prejudice would result to Plaintiffs

from such a short stay, as evidenced by the fact that the present case has been pending since

April 13, 2018, and Plaintiffs have neither sought preliminary injunctive relief nor any other

form of emergency relief. On the other side of the balance, as explained above, Defendants will

be irreparably injured absent an administrative stay because all three defendant-agencies will be

required to implement burdensome changes affecting the fundamental nature of their respective

operational processes and program structures. See supra I.A. And the overall balance of harms

likewise favors Defendants. It has been estimated that if Puerto Rico residents had been eligible

for SSI benefits in 2011, federal spending would have increased from approximately $24 million

to a range from $1.5 to $1.8 billion. Joint Stipulation of Facts ¶ 36, ECF No. 67. Similarly, it

has been estimated that if Puerto Rico residents had been eligible for SNAP in 2011, aggregate

benefits could have increased by as much as $700 million. Id. And in 2011, an estimated

500,000 Medicare beneficiaries in Puerto Rico would have been eligible for the low-income

subsidy. Id. ¶ 37. These estimated cost increases are likely to be even greater in 2020, given

population growth and inflation.

       To be clear, if the Court limits permanent relief to the named plaintiffs, Defendants do

not believe that an administrative stay would be necessary. However, because broader relief




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would irreparably harm Defendants, in the event that such relief were to be awarded, Defendants

would request an administrative stay of proceedings to preserve the status quo.

                                         CONCLUSION

       As explained in Defendants’ merits briefs and during oral argument, Plaintiffs are not

entitled to any form of relief in this case. Nevertheless, even if the Court were to disagree with

Defendants’ merits position, for the foregoing reasons, any relief awarded in this case should

extend no further than necessary to the nine named plaintiffs. In the alternative, if the Court

were to order a broader form of relief, then Defendants would respectfully request that the Court

enter a 60-day administrative stay of proceedings.

Dated: June 25, 2020                                  Respectfully submitted,


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                                                      ERIC WOMACK
                                                      Assistant Branch Director

                                                       /s/ Daniel Riess
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of June, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System, which will automatically send

notifications of this filing to all attorneys of record.

                                                               /s/ Daniel Riess




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